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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION



DAWN L. REDDING,

             Plaintiff,

v.                                                   CASE NO. 4:04cv257-RH/WCS

STATE OF FLORIDA,
DEPARTMENT OF JUVENILE
JUSTICE,

             Defendant.

_________________________________/


                ORDER ABROGATING REQUIREMENT
            FOR PLAINTIFF TO RESPOND TO DEFENDANT’S
            MOTION FOR JUDGMENT AS A MATTER OF LAW


      After a seven-day trial, the jury in this employment discrimination action

returned its verdict partially in favor of plaintiff and partially in favor of defendant.

Defendant has moved for judgment as a matter of law. Plaintiff has moved for an

extension of six business days of the deadline for responding. Defendant consents

to a five-business-day extension, but not to six.

      I presided over the trial. The jury’s verdict accorded perfectly with the

evidence and the governing law. By separate order, I expect to deny the motion for
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judgment as a matter of law. If, however, in preparing the order, I conclude that

any part of the motion may be well founded, I will afford plaintiff an opportunity

to respond. Unless and until I so notify plaintiff, plaintiff will not be required to

respond.1

         For these reasons,

         IT IS ORDERED:

         On the court’s own motion, plaintiff is relieved of the obligation under Local

Rule 7.1 to file a memorandum in response to defendant’s motion for judgment as

a matter of law (document 88). Plaintiff’s motion (document 89) for an extension

of the deadline for responding to defendant’s motion is DENIED AS MOOT.

Plaintiff may, but need not, file a response to defendant’s motion at any time. The

obligation to respond will be reinstated, and a new deadline for a response will be

set, prior to entry of any order granting defendant’s motion in whole or in part.

         SO ORDERED this 10th day of May, 2005.

                                                s/Robert L. Hinkle
                                                Chief United States District Judge




         1
         It is in both sides’ interest that plaintiff not respond if, even in the absence
of such a response, defendant’s motion would be denied. Relieving plaintiff of the
obligation to respond will (a) save time for plaintiff’s attorney, and (b) in the event
plaintiff ultimately prevails, save attorney’s fees that otherwise might be awarded
against defendant.
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